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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )            8:08CR38
                       Plaintiff,                  )
                                                   )
       vs.                                         )             ORDER
                                                   )
BRUCE VALENTINE,                                   )
                                                   )
                       Defendant.                  )
       This matter is before the court on the motion of Assistant Federal Public Defender
Michael F. Maloney and the Office of the Federal Public Defender to withdraw as counsel
for the defendant, Bruce Valentine (Valentine) (Filing No. 26). Mr. Maloney represents he
has a conflict of interest in this matter. Mr. Maloney’s and the Office of the Federal Public
Defender’s motion to withdraw (Filing No. 26) is granted. Chad Douglas Primmer, 506
Main Street, Council Bluffs, IA 51503 (712) 323-5881, is appointed to represent Valentine
for the balance of these proceedings pursuant to the Criminal Justice Act. Mr. Maloney
shall forthwith provide Mr. Primmer with the discovery materials provided the defendant by
the government and such other materials obtained by Mr. Maloney which are material to
Valentine’s defense.
       Valentine will be given until April 18, 2008, in which to file any pretrial motions in
accordance with the progression order (Filing No. 16). The ends of justice have been
served by granting such additional time to file pretrial motions and outweigh the interests
of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting such time, i.e., the time between March 31, 2008 and April 18, 2008, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason defendant's counsel requires additional time to adequately prepare
the case, taking into consideration due diligence of counsel, and the novelty and complexity
of this case. The failure to grant additional time might result in a miscarriage of justice. 18
U.S.C. § 3161(h)(8)(A) & (B).       The trial of this matter will be rescheduled following the
disposition of any pretrial motions or the expiration of the pretrial motion deadline.
       IT IS SO ORDERED.
       DATED this 31st day of March, 2008.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
